     Case 4:18-cr-00087-ALM-KPJ Document 129 Filed 02/20/19 Page 1 of 2 PageID #: 995
                           IN UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                             SHERMAN DIVISION

                                          DATE: 2/20/2019

DISTRICT JUDGE                                      COURT REPORTER: Jan Mason

Amos L. Mazzant, III                                COURTROOM DEPUTY: Debbie McCord
  USA vs. LAURA JORDAN, MARK JORDAN                4:18CR87


  ATTORNEYS FOR GOVERNMENT                                 ATTORNEYS FOR DEFENDANTS

  Chris Eason, Glen Jackson, Maureen Smith, Bradley        Jeff Kearney, Dan Cogdell, Dennis Hester, Reagan
  Visosky, attorneys; Andrew Walton, Bill Messer,          Wynn, attorneys; Laura Jordan, Mark Jordan, Jordan
  Garin Reetz                                              Ray

On this day, came the parties by their attorneys and the following proceedings were held in Sherman, TX:

 TIME:       MINUTES: JURY TRIAL
 9:00 am     Court in session. Limine issue addressed.

 9:02 am     Jury in and seated.

 9:03 am     Direct examination of Ms. Norris continues.

 9:13 am     Bench conference.

 9:16 am     Direct examination continues.

 10:34 am    Jury and Court in recess for morning break.

 10:49 am    Court in session, jury seated. Direct examination continues.

 11:48 am    Cross examination by Mr Wynn.

 11:54 am    Bench conference.

 11:56 am    Jury in recess for lunch. Court sustained Govt’s objection regarding defense govt exhibit 152.

 11:57 am    Court in recess for lunch.

 1:02 pm     Court in session, jury seated. Cross examination by Mr. Wynn continues.
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    CASE NO.           DATE:
    PAGE 2 - PROCEEDINGS CONTINUED:



TIME:     MINUTES: JURY TRIAL
2:04 pm   Bench conference.

2:08 pm   Cross examination continues.

2:28 pm   Jury in recess for break.

2:29 pm   Court is in recess for break.

3:00 pm   Cross examination by Mr. Wynn continues.

3:31 pm   Cross examination by Mr. Cogdell.

3:48 pm   Bench conference.

3:50 pm   Court instructs the jury to disregard the entirety of the last answer.

3:51 pm   Jury in recess for the day.

3:53 pm   Motion for mistrial denied.

3:54 pm   Mr. Jackson addresses issue regarding a transcript of prior testimony.

4:00 PM   Court is in recess.

          Exhibits admitted today: for Govt: 267, 268, 269, 270, 204a, b; 205a, b; 209a, b; 202; for
          Defense: 222, 234, a and b; 200 (redacted); 233.
                                                 DAVID O'TOOLE, CLERK

                                                   BY:      Debbie McCord
                                                           Courtroom Deputy Clerk
